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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


  IN RE EQUIFAX, INC., CUSTOMER                         MDL DOCKET NO. 2800
  DATA SECURITY BREACH                                  1:17-md-2800-TWT
  LITIGATION
                                                        ALL CASES


                                                 ORDER


        This is an MDL proceeding arising out of the Equifax data breach. It is before

the Court on the Motion for Clarification, or in the Alternative to Supplement the

Record [Doc. 1134] of the Objectors Frank and Watkins. It is now obvious to the Court

that the motivations of the Objectors in seeking to obtain the Proposed Order is to

obstruct     and     delay     resolution        of   the   appeal   while   they challenge the

findings in the final approval order that were personal to them. This litigation over

the litigation is not in the best interests of the class or the efficient disposition of the

appeal. Appellate Rule of Procedure 10(e) does not apply because the record truly

discloses what occurred in the district court. The Motion for Clarification, or in the

Alternative to Supplement the Record [Doc. 1134] of the Objectors Frank and

Watkins is DENIED.

        SO ORDERED, this 7 day of August, 2020.



                                        /s/Thomas W. Thrash
                                        THOMAS W. THRASH, JR.
                                        United States District Judge

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